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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA )
                         )
vs.                      )
                         )                       CR. NO. 17-CR-37-01-JL
CHRISTOPHER CLOUGH       )


       __________________________________________________________

                            MOTION IN LIMINE
                  TO PRECLUDE TESTIMONY REGARDING
                     MEDICAL BOARD PROCEEDINGS
      ___________________________________________________________

      NOW COMES the defendant, CHRISTOPHER CLOUGH, and, by and through
his counsel, Patrick J. Richard, moves this Honorable Court, pursuant to Federal Rule
of Criminal Procedure 12(b) and Federal Rules of Evidence 401 and 403, to preclude
the prosecution from introducing evidence or arguments relating to the defendant’s
proceedings before medical review board.
      As grounds therefore it is stated that:
      1.      The defendant took part in proceedings regarding his licensor as a
              physician’s assistant before authorities of the State of New Hampshire;
      2.      The purpose of the hearings were whether the defendant should continue
              to retain his license to practice in the State of New Hampshire;
      3.      The prosecution has indicated to the defendant that it intends to present
              evidence from a witness as to his knowledge of the Medical Board
              proceedings against the defendant;
      4.      The proceedings and their results are legally irrelevant to the matter at
              hand;
      5.      This evidence carries “the potential for prejudice or confusion of the
              issues. Whenever an administrative body makes a finding that is closely
              related to the ultimate question put to the jury, there is a danger that jurors
              may simply defer to the administrative body” United States v. Phung, 384
              Fed. Appx 787, 792 (10th Cir.2010).
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      6.      The conduct decided at the Medical Board, although it included some
              information that will be presented from evidence here, revolved around
              other issues well removed from the issues at bar here.

      7.      Allowing such testimony would not only prejudice the jury against the
              defendant, but also confuse the jury as to the true issues that they are to
              decide in the matter at hand

      8.      No legal memorandum accompanies this motion as the relief requested
              and reasons therefore are fully set out herein.



      WHEREFORE, the Defendant requests this Court:
          A.  Allow this motion to Preclude Testimony;
          B.  Such other relief as the Court deems just and equitable.


                                                       Respectfully submitted
                                                       CHRISTOPHER CLOUGH
                                                       by his attorney,

                                                       _/s/ Patrick J. Richard_

                                                       PATRICK J. RICHARD
                                                       NH Bar: 12934
                                                       11 Kearney Square
                                                       Lowell, MA. 01852
                                                       (978) 458-4279




                                       CERTIFICATION
       I certify that a copy of the within Motion In Limine has been served upon
Assistant United States Attorney Charles Rombeau by ECF on November 28, 2018.


                                                /s/ Patrick J. Richard
                                                Patrick J. Richard
